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 5   jwinter@lloydwinterlaw.com
 6   Attorneys for defendants Sameer Khera and
     Divine Arts & Entertainment
 7
                                UNITED STATES DISTRICT COURT
 8
                                EASTERN DISTRICT OF CALIFORNIA
 9
10
     MADHU SAMEER, an individual on                CASE NO. 1:17-cv-01748-DAD
11   her behalf, and on behalf of all similarly
     situated,                                     NOTICE OF NON-REPRESENTATION
12
                   Plaintiff,
13
            v.
14
     SAMEER KHERA, et al.,
15
                   Defendants.
16
17   TO THE COURT AND ALL COUNSEL OF RECORD:
18          Please take notice that as of January 8, 2019, this office no longer represents
19   defendants Sameer Khera (“Khera”) and Divine Arts & Entertainment (“Divine”) in the
20   above-reference case.
21          THEREFORE, all communications, pleadings, notices, and orders should be served
22   directly upon Khera and Divine at:
23               • 21947 Oakleaf Court
                   Cupertino, CA 85914
24                 skhera_1999@yahoo.com
25          Please update your records accordingly.
26   ///
27   ///
28
                                                  -1-
                                                                     NOTICE OF NON-REPRESENTATION
     Case 1:17-cv-01748-DAD-EPG Document 270 Filed 02/22/19 Page 2 of 2

 1   Dated: February 18, 2019              LLOYDWINTER, a
                                           Professional Corporation
 2
 3
                                           By:
 4                                               Jennifer J. Panicker, prior
                                                 attorney for defendants Sameer Khera
 5                                               and Divine Arts & Entertainment
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                                                             NOTICE OF NON-REPRESENTATION
